Case 0:20-cv-62166-AHS Document 66 Entered on FLSD Docket 05/19/2021 Page 1 of 2
            USCA11 Case: 20-14868 Date Filed: 05/17/2021 Page: 1 of 1

                                                                                                          AP
                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                                                                                        May 18, 2021
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303
                                                                                                                 MIAMI
  David J. Smith                                                                     For rules and forms visit
  Clerk of Court                                                                     www.ca11.uscourts.gov


                                           May 18, 2021

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  Appeal Number: 20-14868-DD
  Case Style: 828 Management, LLC, et al v. Broward County
  District Court Docket No: 0:20-cv-62166-AHS

  The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court. See
  11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R. 27-2, "a
  motion to reconsider, vacate, or modify an order must be filed within 21 days of the entry of
  such order. No additional time shall be allowed for mailing."

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Bradly Wallace Holland, DD/br
  Phone #: 404-335-6181

  Enclosure(s)

                                                                DIS-4 Multi-purpose dismissal letter
Case 0:20-cv-62166-AHS Document 66 Entered on FLSD Docket 05/19/2021 Page 2 of 2
            USCA11 Case: 20-14868 Date Filed: 05/17/2021 Page: 1 of 1


                     IN THE UNITED STATES COURT OF APPEALS

                             FOR THE ELEVENTH CIRCUIT
                               ________________________

                                    No. 20-14868-V
                               ________________________

  828 MANAGEMENT, LLC,
  agent of The Hub,
  2ND STREET ENTERPRISES, INC.,
  d.b.a. Capone's,
  THREE LEGGED DOG, LLC,
  d.b.a. Lucky's Tavern,
  111 SW 2ND AVE, LLC,
  agent of Sway Nightclub,
  MAGIOS, INC.,
  d.b.a. EBAR Club 13, et al.,

                                               Plaintiffs - Appellees,

                                          versus

  BROWARD COUNTY,

                                            Defendant - Appellant.
                               ________________________

                        Appeal from the United States District Court
                            for the Southern District of Florida
                              ________________________

  ORDER:

        Appellees’ unopposed Motion to Dismiss as Moot is GRANTED.




                                                                            DAVID J. SMITH
                                                            Clerk of the United States Court of
                                                              Appeals for the Eleventh Circuit

                                           ENTERED FOR THE COURT - BY DIRECTION
